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          OFFICE OF SECRETARY OF STATE

I, Brad Raffensperger, Secretary of State of the State
         of Georgia, do hereby certify that

the attached 212 pages are true and a correct copy of Act No. 326, House

Bill No. 792, as approved and signed by the Governor on March 17, 2020; all

as the same appear on file and record in this office.




                                IN TESTIMONY WHEREOF, I have hereunto set my hand and
                                     affixed the seal of my office, at the Capitol, in the City
                                     of Atlanta, this 1 7 t h d a y o f M a r c h , in the year of
                                     our Lord Two Thousand and Twenty and of the
                                     Independence of the United States of America the
                                     Two Hundred and Forty-Fourth.
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